Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2265 Page 1 of 9



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   8 A. McDermott, Jr., and John L. Notter
   9
                              UNITED STATES DISTRICT COURT
  10
                            SOUTHERN DISTRICT OF CALIFORNIA
  11
         DON CLEVELAND, an individual;            Case No.: 3:19-cv-02141-JM-JLB
  12     ARSHAD DESAI, an individual;
         FRANK FURNARI, an individual;
  13     RICHARD KOLODNER, an                     REPLY MEMORANDUM IN
         individual; PAUL MISCHEL, an             SUPPORT OF DEFENDANTS
  14     individual; KAREN OEGEMA, an             /COUNTER-CLAIMANTS’ MOTION
         individual; and BING REN, an             FOR SANCTIONS FOR PLAINTIFFS’
  15     individual,                              VIOLATION OF THIS COURT’S
                                                  PROTECTIVE ORDER
  16                  Plaintiffs/Counter-
                      defendants,                 Department: 5D
  17                                              Judge: Hon. Jeffrey T. Miller
                      vs.                         Magistrate Judge: Hon. Jill L. Burkhardt
  18
         LUDWIG INSTITUTE FOR                     Initial Compl. Filed:    Nov. 7, 2019
  19     CANCER RESEARCH LTD., a                  Am. Compl. Filed:        Jan. 30, 2020
         corporation; CHI VAN DANG, an            Second Am. Compl. Filed: July 8, 2020
  20     individual; EDWARD A.
         McDERMOTT, JR., an individual;           Date: August 6, 2021
  21     JOHN L. NOTTER, an individual;           Place: Suite 5140
         and DOES 1 through 100, inclusive,
  22                                              NO ORAL ARGUMENT UNLESS
                     Defendants/Counter-          REQUESTED BY THE COURT
  23                 claimants.
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          REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                              CASE NO. 3:19-CV-02141-JM-JLB
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Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2266 Page 2 of 9



   1
                                      TABLE OF CONTENTS
   2
   3 A.     Plaintiffs’ Disclosure Was Not “Required by Law” ......................................... 1

   4 B.     The PO Is Not Against Public Policy or in Violation of California Law ......... 3
   5 C.     The PO Does Not Violate the Rules Enabling Act ........................................... 3
   6 D.     There is Ample Basis for Defendants’ Requested Sanctions ............................ 4
   7
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                                                   -i-
          REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                              CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2267 Page 3 of 9



   1                                      TABLE OF AUTHORITIES
   2                                                                                                         Page(s)
   3
       Cases
   4
       Erhart v. Bofl Holding, Inc.,
   5      2017 WL 588390 (S.D. Cal. Feb. 14, 2017) ........................................................ 3
   6
       Harmston v. City & Cty. of San Francisco,
   7     2007 WL 3306526 (N.D. Cal. Nov. 6, 2007) ....................................................... 5
   8
     Marine Midland Realty Credit Corp. v. LLMD of Michigan, Inc.,
   9   821 F. Supp. 370 (E.D. Pa. 1993)..................................................................... 1, 2
  10 O’Connor v. Uber Techs., Inc.,
  11   2017 WL 6504064 (N.D. Cal. Sept. 6, 2017)....................................................... 5

  12 On Command Video Corp. v. LodgeNet Ent. Corp.,
        976 F. Supp. 917 (N.D. Cal. 1997)....................................................................... 4
  13
  14 Paice, LLC v. Hyundai Motor Co.,
        2014 WL 3533667 (D. Md. July 11, 2014) .......................................................... 2
  15
     Waitt v. Internet Brands, Inc.,
  16
        2011 WL 13214104 (C.D. Cal. Jan. 6, 2011)....................................................... 1
  17
     Statutes
  18
     California Government Code § 12964.5(a) ............................................................... 3
  19
  20 California Labor Code § 1102.5 ................................................................................ 3
  21
  22
  23
  24
  25
  26
  27
  28
                                                           -ii-
           REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                               CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2268 Page 4 of 9



   1       The Opposition (ECF 83, “Opposition” or “Opp.”) does not dispute that Plaintiffs
   2 shared with unauthorized third parties the contents of the April 2018 Minutes1
   3 produced in this action and designated as confidential under the PO, quoted and relied
   4 on the contents of those minutes in their publicly-filed complaint in their separate
   5 New Action, and disclosed the quoted language in their DFEH submissions. Instead,
   6 it largely repeats Plaintiffs’ theory that they were free to disclose the minutes because
   7 they unilaterally concluded such disclosure would support their claims in the New
   8 Action and thus disclosure was “required by law.” To this Plaintiffs now add that no
   9 sanctions should issue because Plaintiffs’ disclosure was substantially justified and
  10 did not harm Defendants. Defendants respectfully urge the Court to order the
  11 narrowly-tailored sanctions they seek to ensure that Plaintiffs are not rewarded for
  12 their willful violation of the PO, assure the Institute’s own confidential information
  13 will not be used against it improperly, and disincentivize the conduct at issue.
  14 A.       Plaintiffs’ Disclosure Was Not “Required by Law”
  15          Paragraph 20 of the PO states: “Nothing in this Order will be construed to
  16 prevent disclosure of confidential information if such disclosure is required by law or
  17 by order of the Court.” PO ¶ 20. Of course, Plaintiffs were not “required by law” to
  18 file the New Action at all. And Plaintiffs certainly “were not required by law to file
  19 a complaint that recited, verbatim, [language from the April 2018 Minutes].” Waitt
  20 v. Internet Brands, Inc., 2011 WL 13214104, at *1 (C.D. Cal. Jan. 6, 2011) (emphasis
  21 in original). Plaintiffs claim their improper disclosure and use of the minutes were in
  22 fact “required by law” because “[t]he law requires claims to be filed,” “[t]he law also
  23 requires that a pleading must contain a short and plain statement of the claim,” and
  24 “Plaintiffs needed to allege the basic facts supporting their age discrimination claim
  25 in order to satisfy that legal requirement.” Opp. at 6-7. In support, Plaintiffs offer a
  26 single distinguishable case, Marine Midland Realty Credit Corp. v. LLMD of
  27
       1
  28    Capitalized terms not otherwise defined have the same meanings as in the Motion
       (ECF 80-1).
                                               -1-
           REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                               CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2269 Page 5 of 9



   1 Michigan, Inc., 821 F. Supp. 370 (E.D. Pa. 1993) (cited at Opp. at 5-7), which
   2 addressed a dissimilar situation. There, a litigant filed a new lawsuit in state court
   3 against its former expert witness seeking damages because, due to the expert’s errors
   4 in a prior trial, the litigant had settled for less than the lost profits it had sustained. In
   5 the new suit the litigant “was careful not to set forth” the confidential settlement
   6 amount in its complaint. Id. at 372. Nonetheless, its prior opponent filed a suit in
   7 federal court seeking an injunction against any disclosure of the settlement amount in
   8 the new lawsuit. The agreement at issue was a private settlement contract, interpreted
   9 under Pennsylvania law, in which the court observed that at the time it was signed the
  10 contracting parties “must have been aware of the distinct possibility of [the new]
  11 lawsuit by LLMD against its expert . . . . The events in question had occurred in the
  12 courtroom before their very eyes.” Id. at 373-74. Moreover, the court observed, “the
  13 settlement figure must necessarily be disclosed in order to obtain legal redress.” Id.
  14 at 373 (emphasis added). Here, unlike in Marine Midland, (i) the agreement in
  15 question, the PO, is a court order; (ii) there is no basis to believe the Court (or the
  16 parties) contemplated “the distinct possibility” of a new action when entering the PO;
  17 (iii) to the contrary, the PO explicitly states that confidential information “must be
  18 used only for purposes of this action,” PO ¶ 14; (iv) Plaintiffs’ unilateral disclosure
  19 was not “necessary” because they had the ability under the PO to seek to de-designate
  20 the minutes, to seek leave to add the new claims to the current case and file under
  21 seal, or to obtain other relief by consent or from this Court; and (v) Plaintiffs do not
  22 contend that the contents of the minutes “must necessarily be disclosed” for them to
  23 obtain legal redress (though they contend the disclosure is helpful to them in
  24 attempting to plead their new claim). See, e.g., Paice, LLC v. Hyundai Motor Co.,
  25 2014 WL 3533667, at *5 (D. Md. July 11, 2014) (distinguishing Marine Midland and
  26 noting inapplicability where disclosure not “necessary”).
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  28
                                                 -2-
         REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                             CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2270 Page 6 of 9



   1 B.      The PO Is Not Against Public Policy or in Violation of California Law
   2         Plaintiffs claim that reading the PO to prevent their disclosure and use of the
   3 April 2018 Minutes in connection with the New Action would be contrary to
   4 California Labor Code § 1102.5 and thus “void as against public policy and
   5 unenforceable.” Opp. at 7. But Labor Code § 1102.5 is inapplicable.2 It prevents an
   6 employer from “mak[ing], adopt[ing], or enforce[ing] any rule, regulation, or policy
   7 preventing” an employee from disclosing information about a violation of law. Id.
   8 This motion does not involve an Institute employment rule or policy, but rather a court
   9 order. The case that Plaintiffs cite, Erhart v. Bofl Holding, Inc., 2017 WL 588390
  10 (S.D. Cal. Feb. 14, 2017), is inapposite. Opp. at 8. The court in Erhart permitted an
  11 employee’s violation of his contractual employee confidentiality agreement because
  12 whistleblower protections outweighed the public policy considerations favoring
  13 enforcing private confidentiality agreements.       Nothing in Erhart (or § 1102.5)
  14 authorizes violation of a court order and, in any event, the public policy considerations
  15 in Erhart are inapplicable because the PO here contains mechanisms for Plaintiffs to
  16 dispute confidentiality designations or otherwise obtain relief.         Moreover, the
  17 information at issue is not something Plaintiffs learned in the course of their work,
  18 but rather was obtained using the discovery powers of this Court. California law does
  19 not (and cannot) preclude this Court from managing discovery by imposing
  20 confidentiality requirements in the PO, as authorized by Rule 26, nor grant Plaintiffs
  21 carte blanche to disregard the requirements of the PO.
  22 C.      The PO Does Not Violate the Rules Enabling Act
  23         Plaintiffs also claim that enforcing the PO would violate the Rules Enabling
  24 Act because of the purported conflict with California law and because “it would be
  25 neither practical nor appropriate under the Rules Enabling Act to order confidential
  26 treatment of materials that California law says an employee cannot be prevented from
  27
       2
  28     As is California Gov’t Code § 12964.5(a) (Opp. at 7 n.8), as this dispute does not
       involve an employee required to sign any document as a condition to employment.
                                               -3-
           REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                               CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2271 Page 7 of 9



   1 disclosing.” Opp. at 9-10. As an initial matter and for the reasons noted above, the
   2 protections afforded by the PO are not inconsistent with California law. Plaintiffs’
   3 argument is also nonsensical because the information at issue was obtained pursuant
   4 to the very rule (Rule 26) that simultaneously authorized the Court to control
   5 discovery through entry of the PO. Moreover, Plaintiffs’ arguments are premised on
   6 the assertion that the April 2018 Minutes should not be deemed confidential in the
   7 first place, a dispute for which Plaintiffs had a remedy under paragraph 13 of the PO
   8 that they elected to skip in favor of self-help.
   9 D.      There is Ample Basis for Defendants’ Requested Sanctions
  10         Plaintiffs contend that even if they violated the PO, the Court should decline to
  11 award the sanctions Defendants seek because they are extreme and unwarranted,
  12 Plaintiffs’ conduct was substantially justified and harmless, and any sanction would
  13 be unjust. None of these arguments has merit.
  14         First, though Plaintiffs contend that evidentiary sanctions are extreme and
  15 unwarranted, Opp. at 10-11, Defendants’ request is narrowly focused on Plaintiffs’
  16 use of the April 2018 Minutes; Defendants do not seek by this Motion to terminate
  17 Plaintiffs’ age discrimination claim in the New Action nor limit their ability to use
  18 other properly obtained documents. Evidentiary sanctions are entirely appropriate
  19 here. See, e.g., On Command Video Corp. v. LodgeNet Ent. Corp., 976 F. Supp. 917,
  20 922 (N.D. Cal. 1997) (finding that plaintiff “violated the plain terms” of a protective
  21 order by using confidential information to file a separate lawsuit and barring
  22 plaintiff’s use of that information “except in the instant litigation”).
  23         Second, Plaintiffs argue that evidentiary sanctions are inappropriate under
  24 Rule 37 because their improper disclosure was “de minimis” and purportedly did not
  25 prejudice or harm Defendants.3 Opp. at 11-12. Plaintiffs cite no authority that their
  26   3
       Plaintiffs contend that Defendants could not have been harmed by Plaintiffs’
  27 disclosure and use of the minutes in connection with the New Action because in
  28 moving to dismiss the New Action as inadequately pled, the Institute repeated
     Plaintiffs’ allegations quoting the minutes. Opp. at 3, 12. But Plaintiffs ignore that
                                               -4-
           REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                               CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2272 Page 8 of 9



   1 disclosure was de minimis especially in view of the record here—which indicates
   2 Plaintiffs were well aware that the minutes were designated confidential when they
   3 disclosed them. Moreover, the qualitative harm here is not “de minimis,” as it includes
   4 Defendants’ need to respond publicly to this dispute, the collateral effects of reduced
   5 confidence in the PO, the corresponding increase in costs of litigation, and the
   6 undermined confidence among Institute Board members to speak frankly at
   7 meetings.4
   8        Third, Plaintiffs contend that both evidentiary and monetary sanctions are
   9 inappropriate because “reasonable people” could differ with respect to whether
  10 Plaintiffs’ actions were authorized under the PO. Opp. at 12-15.5 But for the reasons
  11 discussed above, Plaintiffs’ interpretation of the PO is not reasonable. Even if there
  12 were a reasonable argument that California law and public policy could provide a
  13 basis for de-designation or other relief from the PO, Plaintiffs did not seek such relief
  14 here.6 Plaintiffs offer no reason why they could not have achieved their desired
  15 result—attempting to assert their claim in the New Action—while also complying
  16 with the PO. Plaintiffs’ resort to self-help was thus not “substantially justified.”
  17
  18 by the time the Institute filed its motion to dismiss, the harm from Plaintiffs’ PO
     violation was done. Moreover, Plaintiffs’ contention is ill conceived. If a defendant’s
  19 repetition of improperly-made allegations in moving to dismiss claims somehow
  20 immunized protective order violations, that would unfairly hamstring the ability of
     victims of such violations to defend against such claims.
  21 4 Although Plaintiffs contend that the harm Defendants suffered cannot support
  22 evidentiary sanctions because they “ha[ve] nothing to do with prejudice to Ludwig’s
     ability to defend the claims against it,” Opp. at 12, nothing Plaintiffs cite indicates
  23 that evidentiary sanctions may issue only in such circumstances.
     5
  24 Plaintiffs claim that Rule 16(f) sanctions do not apply to the failure to obey a
     protective order. Opp. at 13 n.13. Courts have held otherwise. See, e.g., O’Connor
  25 v. Uber Techs., Inc., 2017 WL 6504064, at *1 (N.D. Cal. Sept. 6, 2017) (Rule 16(f)(2)
  26 “authoriz[es]
     6
                   sanctions for violations of pretrial orders, including protective orders”).
       The propriety of the designation is “besides the point” because “that designation,
  27 even if later determined to be improper, remains in place until the Court orders
  28 otherwise after a properly-presented challenge.” Harmston v. City & Cty. of San
     Francisco, 2007 WL 3306526, at *6 (N.D. Cal. Nov. 6, 2007).
                                               -5-
         REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                             CASE NO. 3:19-CV-02141-JM-JLB
Case 3:19-cv-02141-JM-JLB Document 85 Filed 07/30/21 PageID.2273 Page 9 of 9



   1 DATED: July 30, 2021                  Respectfully submitted,
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                                            -6-
        REPLY MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR SANCTIONS
                                                            CASE NO. 3:19-CV-02141-JM-JLB
